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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Chapter ll
In re:
Case No. l4-11987 (CSS)

FCC HoLDINGs, INC., e_t a_i.,‘
Jointly Administered
Debtors.
Related Docket Nos. 855 & 857

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ORDER GRANTING MOTION OF THE LIQUIDATING TRUSTEE FOR ORDER
UNDER BANKRUPTCY CODE SECTION 105(a) AND BANKRUPTCY RULE 9006
EXTENDING TIME TO OBJECT TO CLAIMS AND ADMINISTRATIVE EXPENSE
REQUESTS

Upon the motion (the “M_otio_n”)z of the Liquidating Trustee for entry of an order
under Bankruptcy Code section 105(a) and Bankruptcy Rule 9006 further extending the time to
object to Claims and administrative expense requests; and the Court having determined that the
relief requested in the Motion is in the best interests of these bankruptcy estates, the FCC Trust,
creditors, and other parties in interest; and it appearing that proper and adequate notice of the
Motion has been given under the circumstances and that no other or further notice is necessary;
and upon the record herein; and after due deliberation thereon; and good and sufficient cause
appearing therefor, it is hereby

ORDERED, ADJUDGED AND DECREED THAT:

l. The Motion is GRANTED.

 

The Debtors in these chapter l l cases, along with the last four digits of each Debtor’s federal tax
identification number, are: FCC Holdings, Inc. (6928); Education Training Corporation (1478); High-Tech
Institute Holdings, Inc. (4629); EduTech Acquisition Corporation (8490); and High-Tech Institute, Inc.
(3099).

Unless otherwise defined herein, capitalized terms used herein shall have the meanings ascribed to them in
the Motion.

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2. The Claims Objection Deadline is extended for the Liquidating Trustee
(the “Liguidating Trustee”) to object to Claims and administrative expense requests through and
including January 15, 2019.

3. Entry of this Order is Without prejudice to the rights of the Liquidating

Trustee to seek further extensions of the Claims Objecti

  

Dated; JulyQZ 31 2018

 

The Honorable Christopher S. Sontchi
United States Bankruptcy Judge

WBD (US) 43340065vl

